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         EXHIBIT C
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

RONNIE PIERCE, AND            §
CASAS DE LOS INDIOS, L.P.     §
                              §
V.                            §                CIVIL ACTION NO. 4:17-CV-01641
                              §
THE TRAVELERS HOME AND MARINE §
INSURANCE COMPANY             §

                   DEFENDANT’S NOTICE OF REMOVAL
               EXHIBIT C: COPIES OF PLEADINGS ASSERTING
         CAUSES OF ACTION AND ALL ANSWERS TO SUCH PLEADINGS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COMES NOW, The Travelers Home and Marine Insurance Company, the

defendant in the above entitled and numbered cause, and files copies of all pleadings

asserting causes of action and all answers to such pleadings as required by Local Rule

81.2.
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                               CAUSE NO. 17-DCV-241574

RONNIE PIERCE, AND                          §              IN THE DISTRICT COURT OF
CASAS DE LOS INDIOS, L.P.                   §
                                            §
V.                                          §              FORT BEND COUNTY, TEXAS
                                            §
THE TRAVELERS HOME AND                      §
MARINE INSURANCE COMPANY                    §              268TH JUDICIAL DISTRICT

                           DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, The Travelers Home and Marine Insurance Company, the

defendant in the above entitled and numbered cause, and files this its original answer to

the plaintiffs’ original petition on file herein, and in support thereof would respectfully show

the Court as follows:

                                                I.
       The defendant hereby generally denies the allegations contained in the plaintiffs’

petition on file herein pursuant to Rule 92 of the Texas Rules of Civil Procedure, and thus

asserts its privilege of insisting that such allegations be proven by a preponderance of

credible evidence.

                                                II.
       Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, the defendant

notifies all parties to this lawsuit of the defendant’s intent to introduce as evidence at any

pretrial proceeding or at trial any document produced by any party in discovery in this

lawsuit.
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                                              III.

       The defendant specifically reserves the right to amend its answer to plead any

affirmative defenses or other matters that must be specially pled and to assert any

counterclaims or third-party claims it may have after discovery in this case is complete.

       WHEREFORE, PREMISES CONSIDERED, the defendant, The Travelers Home

and Marine Insurance Company, moves and prays the Court that upon trial hereof, the

plaintiffs recover nothing, and that the defendant go hence with its costs, and for such

other and further relief, both general and special, legal and equitable, to which defendant

may show itself justly entitled to receive.

                                                     Respectfully submitted,

                                                     ORGAIN BELL & TUCKER, LLP
                                                     P O Box 1751
                                                     Beaumont, TX 77704-1751
                                                     (409) 838-6412
                                                     (409) 838-6959 facsimile

                                                     /s/ Greg C. Wilkins
                                                     Greg C. Wilkins
                                                     State Bar No. 00797669
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                                                     State Bar No. 24075299
                                                     wwise@obt.com

                                                     ATTORNEYS FOR DEFENDANT,
                                                     THE TRAVELERS HOME AND MARINE
                                                     INSURANCE COMPANY




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                             CERTIFICATE OF SERVICE

        I do hereby certify that on the 1st day of June, 2017, I electronically filed the
foregoing with the Fort Bend County District Clerk via eFile Texas which will send
notification of such filing to each counsel of record.

                                               /s/ Greg C. Wilkins
                                                Greg C. Wilkins




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